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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 FEDERAL TRADE COMMISSION,
                                              Case No. 2:22-cv-11120-BAF-APP
       Plaintiff,
                                              Hon. Bernard A. Friedman
              v.

 FINANCIAL EDUCATION
 SERVICES, INC., et al.,

                    Defendants.

    ORDER DENYING MOTION FOR PRELIMINARY INJUNCTION,
   VACATING TEMPORARY RESTRAINING ORDER, TERMINATING
      ASSET FREEZE, AND CONVERTING RECEIVERSHIP TO
                       MONITORSHIP
      Plaintiff, the Federal Trade Commission (“FTC”), commenced this civil

action on May 23, 2022, pursuant to Sections 13(b) and 19 of the FTC Act, 15

U.S.C. §§ 53(b) and 57b, Section 410(b) of the Credit Repair Organizations Act

(“CROA”), 15 U.S.C. § 1679h(b), and Section 6(b) of the Telemarketing and

Consumer Fraud and Abuse Prevention Act, 15 U.S.C. § 6105(b). On May 25,

2022, on motion by the FTC, the Court entered an ex parte temporary restraining

order (“TRO”) with asset freeze, appointment of receiver, and other equitable relief

against Defendants Financial Education Services, Inc., United Wealth Services,

Inc., VR-Tech, LLC, VR-Tech MGT, LLC, CM Rent Inc., Youth Financial

Literacy Foundation, Parimal Naik, Michael Toloff, Christopher Toloff, and
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Gerald Thompson. (ECF No. 10.) On June 30, 2022, the Court held a hearing on

an order to show cause why a preliminary injunction should not issue against

Defendants.

      The Court, having considered the Complaint, the ex parte Motion for a

Temporary Restraining Order, declarations, exhibits, and memoranda filed in

support thereof, Defendants’ declarations, exhibits, and memoranda filed in

opposition thereof, and the arguments of the parties at the June 30 hearing, and

being otherwise advised, hereby enters the following order (“Order”).

                                    DEFINITIONS

For the purpose of this Order, the following definitions shall apply:

A. “Corporate Defendants” means Defendants Financial Education Services,

   Inc., United Wealth Services, Inc., VR-Tech, LLC, VR-Tech Mgt, LLC, CM

   Rent Inc., and Youth Financial Literacy Foundation.

B. “Defendants” means Corporate Defendants and Individual Defendants,

   individually, collectively, or in any combination.

C. “Individual Defendants” means Defendants Parimal Naik, Michael Toloff,

   Christopher Toloff, and Gerald Thompson, individually, collectively, or in any

   combination.

D. “Monitor” means the monitor appointed in Section IV of this Order.




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  E. “Monitored Entities” means Corporate Defendants and any other entity

      conducting any business related to Defendants’ multi-level marketing program

      or credit repair and other consumers services that the Monitor determines in a

      written report to the Court is owned in whole or in part or is otherwise

      controlled by any Defendant. Monitored Entities does not include any

      Individual Defendant.

  F. “Person” means a natural person, an organization or other legal entity,

      including a corporation, partnership, sole proprietorship, limited liability

      company, association, cooperative, or any other group or combination acting as

      an entity.

                                         ORDER

             DENIAL OF MOTION FOR PRELIMINARY INJUNCTION

 I.   IT IS THEREFORE ORDERED that the FTC’s motion for preliminary

      injunction (ECF No. 3) is hereby denied for the reasons stated on the record at

      the June 30, 2022 hearing.

               VACATION OF TEMPORARY RESTRAINING ORDER

II.   IT IS FURTHER ORDERED that the Temporary Restraining Order (ECF No.

      10) is hereby vacated effective June 30, 2022.




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        TERMINATION OF ASSET FREEZE AND ASSET PRESERVATION

III.   IT IS FURTHER ORDERED that:

       A. The freeze over Defendants’ assets established under Sections IV and V of

          the TRO is hereby terminated. Defendants may provide copies of this Order

          to any financial institution holding accounts affected by the TRO as

          sufficient evidence that the asset freeze is terminated and of no further

          effect.

       B. The Receiver shall, within three (3) business days of entry of this Order, take

          all steps necessary to transfer to Defendants the balance of any receivership

          account created by the Receiver pursuant to Section XIII.O of the TRO;

          provided, however, that the Receiver may retain in such receivership

          account the amount set forth in Section X.B of this Order and an amount

          sufficient to cover any Court-approved fee application of the Receiver.

       C. The Monitored Entities shall not (1) transfer or dispose of any material

          assets (beyond ordinary course sales and related transactions) or (2) transfer

          any asset to any person or account located outside the United States, without

          prior notice to the Court and the Monitor. Notwithstanding the foregoing,

          the Monitored Entities shall not engage in any ordinary course sale or related

          transaction if such sale or transaction results in a transfer or disposition of

          assets exceeding $500,000 without prior notice to the Court and the Monitor,


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         together with a written description of the nature of such sale or transaction

         and an explanation why such sale or transaction is “ordinary course.” If the

         Monitor objects to any proposed asset disposition set forth above, the

         Monitored Entities will not proceed with such disposition until approved by

         the Court.

              CONVERSION OF RECEIVERSHIP TO MONITORSHIP

IV.   IT IS FURTHER ORDERED that:

      A. The receivership established by the TRO is hereby terminated and Patrick A.

         Miles, Jr. is hereby discharged as Receiver and appointed Monitor for the

         Monitored Entities. The Monitor shall be solely the agent of this Court in

         acting as Monitor under this Order. The Monitor shall exercise

         independence from the influence of the parties and is not bound to any

         party’s legal arguments, claims or defenses.

                                  DUTIES OF MONITOR
V.    IT IS FURTHER ORDERED that the Monitor is directed and authorized to

      monitor the Monitored Entities’ compliance with (1) this Order and any other

      order entered by the Court in this action, (2) Section 5 of the FTC Act, 15

      U.S.C. § 45, the Credit Repair Organizations Act (“CROA”), 15 U.S.C. § 1679-

      1679l, and the FTC’s Telemarketing Sales Rule (“TSR”), 16 C.F.R. Part 310,

      and (3) all other laws, rules, and regulations.


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                        AUTHORITIES OF THE MONITOR

VI.   IT IS FURTHER ORDERED that to accomplish the Monitor’s duties set forth

      in this Order, the Monitor is authorized to do the following:

      A. Identify and review the Monitored Entities’ marketing materials,

         advertisements, sales scripts, training materials, videos, webinars, websites,

         social media accounts, and any other document that reflects the marketing,

         advertising, promotion, distribution, offer for sale, or sale of any goods or

         services, and any other document that reflects the Monitored Entities’

         business activities;

      B. Observe training or sales meetings or seminars conducted or authorized by

         the Monitored Entities;

      C. Identify and review all materials, information, or other documents or

         services related to the provision by the Monitored Entities of goods or

         services to their customers;

      D. Identify and review all training materials, policies, procedures, or any other

         document provided to employees, agents or independent contractors related

         to the Monitored Entities’ compliance with this Order, any other order

         entered by the Court in this action, or any state or federal law, rule, or

         regulation;




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   E. Identify and review any other document, record, information, or material

      that reasonably relates to the carrying out of the Monitor’s duties pursuant to

      this Order;

   F. Identify and review any document retention and preservation policies and

      procedures;

   G. Interview any current or former employee, officer, manager, agent,

      independent contractor, vendor, telecommunications provider, service

      bureau, bank, payment processor, or other financial institution, or other

      entity involved in the provision of any services from, to, or on behalf of the

      Monitored Entities. The Monitored Entities shall designate a contact person

      with whom the Monitor shall coordinate in good faith to schedule any such

      interviews;

   H. Identify and review the Monitored Entities’ financial records and financial

      transactions to ascertain that all such documents are maintained in

      accordance with applicable document retention and preservation policies and

      procedures;

   I. Identify customer and agent information held by the Monitored Entities and

      review or propose policies and procedures designed to ascertain that all such

      documents are maintained in accordance with applicable document retention

      and preservation policies and procedures;

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   J. Identify and inventory all assets of the Monitored Entities;

   K. Identify and inventory all business records of the Monitored Entities to

      ascertain that all such records are maintained in accordance with applicable

      document retention and preservation policies and procedures;

   L. Copy or image documents that the Monitor deems necessary for purposes of

      carrying out the Monitor’s duties pursuant to this Order;

   M. Investigate and bring to the Court’s attention any violation of any law, rule,

      or regulation; and

   N. Engage attorneys, accountants, appraisers, and other independent contractors

      and technical specialists, as the Monitor deems advisable or necessary in the

      performance of duties and responsibilities under the authority granted by this

      Order, for which the Monitor shall provide the Monitored Entities, the FTC,

      and the Court a proposed estimated budget, to which the parties may object.

      If the objections cannot be resolved, then the proposed budget and the

      objections shall be submitted to the Court for resolution.

   O. Should the Monitor determine to conduct any interviews as permitted by this

      Section, attendance at such interviews by any person other than the

      interviewee (or the interviewee’s legal counsel) shall be subject to the

      Monitor’s invitation, as determined in the Monitor’s sole discretion.




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       P. The Monitor and his agents, acting within the scope of such agency

          (“Retained Personnel”) are entitled to rely on all outstanding rules of law

          and Orders of this Court and shall not be liable to anyone for their own good

          faith compliance with any order, rule, law, judgment, or decree. In no event

          shall the Monitor or Retained Personnel be liable to anyone for their acts or

          omissions or their good faith compliance with their duties and

          responsibilities, except as a result of a finding by this Court that they acted

          or failed to act as a result of malfeasance, bad faith, gross negligence or in

          reckless disregard of their duties. Any party, person or entity seeking

          recovery from the Monitor or any Retained Personnel for conduct in the

          course of the administration of this monitorship must first obtain leave from

          this Court. This Court shall retain jurisdiction over any action filed against

          the Monitor or Retained Personnel based upon acts or omissions committed

          in their representative capacities.

                    PROVISION OF INFORMATION TO MONITOR

VII.   IT IS FURTHER ORDERED that Defendants shall provide to the Monitor,

       within a reasonable time upon request, the following:

       A. A list of all assets and property, including accounts, of the Monitored

          Entities, including assets and property that are held in any name other than

          the name of a Monitored Entity, or by any person or entity other than a


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       Monitored Entity, that have not already been identified in the financial

       disclosures previously submitted by the Monitored Entities pursuant to the

       TRO;

    B. A list of all locations where documents of the Monitored Entities are

       located, and the means to access such documents;

    C. The business records of the Monitored Entities, including but not limited to,

       books and records of accounts, all financial and accounting records, balance

       sheets, income statements, bank records, customer lists, and other papers;

    D. If Sections VII.A, B, or C are shown to be insufficient, supervised access to

       all computers, electronic devices and machines and data in whatever form

       used to conduct the business of the Monitored Entities;

    E. If needed in connection with Section VII.D, single-time use keys, codes,

       usernames and passwords necessary to gain access; and

    F. A list of all agents, employees, officers, attorneys, servants and those

       persons, or who have been associated or done business with the Monitored

       Entities; provided, however, that Defendants may designate such list as

       “CONFIDENTIAL” in accordance with any protective order entered in this

       action.

    G. In the event that any person or entity fails to comply with any provision of

       this Section, the Monitor may file an Affidavit of Non-Compliance

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                regarding the failure. Upon filing the affidavit, the Court may take any

                action necessary to effect compliance with this Order.

                              COOPERATION WITH THE MONITOR
VIII.        IT IS FURTHER ORDERED that Defendants and Monitored Entities shall

             fully cooperate with and assist the Monitor. This cooperation and assistance

             shall include, but is not limited to, providing information to the Monitor that the

             Monitor deems necessary to exercise the authority and discharge the

             responsibilities of the Monitor under this Order.

                           NON-INTERFERENCE WITH THE MONITOR
 IX.         IT IS FURTHER ORDERED that Defendants; Monitored Entities;

             Defendants’ or Monitored Entities’ officers, agents, employees, and all other

             persons in active concert or participation with any of them, who receive actual

             notice of this Order, shall not interfere with the Monitor’s or the Monitor’s duly

             authorized agents in the exercise of their duties or authority under this Order or

             any other order entered by the Court in this action.

                                 COMPENSATION OF MONITOR

        X.      IT IS FURTHER ORDERED that:

             A. The Monitor and all personnel hired by the Monitor as herein authorized,

                including counsel to the Monitor and accountants, are entitled to reasonable

                compensation for the performance of duties pursuant to this Order and for


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       the cost of actual out-of-pocket expenses incurred by them, from the assets

       now held by, in the possession or control of, or which may be received by,

       the Monitored Entities. The Monitor shall file with the Court and serve on

       the parties periodic requests for the payment of such reasonable

       compensation, specifically identifying the name and date of each individual

       who performed labor and his or her rate. Block billing shall be prohibited.

       The first such request shall be filed no more than sixty (60) days after the

       date of entry of this Order. The Monitor shall not increase the hourly rates

       used as the bases for such fee applications without prior approval of the

       Court.

    B. The Corporate Defendants shall maintain a minimum balance of Five

       Hundred Thousand Dollars ($500,000) in the corporate receivership account

       established by the previously appointed Receiver under the TRO for the

       payment of any fees, costs, or other expenses approved by the Court

       pursuant to this Section.

                             MONITOR’S REPORTS

 XI.   IT IS FURTHER ORDERED that the Monitor shall report periodically to

       this Court, with copies to the parties, regarding (1) the steps taken by the

       Monitor to implement the terms of this Order; (2) whether the Monitored

       Entities are complying with this Order or any other order entered by the


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       Court; and (3) any other matters that the Monitor believes should be brought

       to the Court’s attention. The Monitor may, at any time, immediately report

       to the Court should the Monitor determine that the Monitored Entities have

       not complied or are not complying with any provision of this Order. The

       parties may file objections or otherwise respond to any report within 14 days

       of receipt of a copy of such report.

                        DURATION OF MONITORSHIP

 XII. IT IS FURTHER ORDERED that the Monitorship shall remain in place,

       and the terms of this Order shall govern, until final resolution of this action,

       unless otherwise shortened, lengthened, or terminated by the Court.

                  NO WAIVER OF PRIVILEGES OR RIGHTS

 XIII. IT IS FURTHER ORDERED that nothing in this Order shall be deemed a

       waiver by Defendants of any privilege they may hold, including but not

       limited to the attorney-client privilege, or any rights they may have pursuant

       to the Fifth Amendment to the Constitution of the United States.




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                          RETENTION OF JURISDICTION

 XIV. IT IS FURTHER ORDERED that this Court shall retain jurisdiction of

       this matter for all purposes.

 IT IS SO ORDERED.



         July 18                              /s/ Bernard A. Friedman
 Dated:______________,   2022               ______________________________
       Detroit, Michigan                    Bernard A. Friedman
                                            Senior United States District Judge




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